                                       Case 3:20-cv-04679-WHA Document 307 Filed 06/14/23 Page 1 of 1




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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   AASYLEI LOGGERVALE, AAOTTAE
                                       LOGGERVALE, and AASYLEI HARDGE-
                                  11   LOGGERVALE                                         No. C 20-04679 WHA

                                  12                 Plaintiffs,
Northern District of California
 United States District Court




                                  13           v.                                         ORDER RE ENFORCEMENT OF
                                                                                          JUDGMENT
                                  14   STEVEN HOLLAND, MONICA POPE,
                                       and COUNTY OF ALAMEDA,
                                  15
                                                     Defendants.
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                                  17
                                            With respect to the issue of whether or not plaintiffs may seek to enforce the amended
                                  18
                                       judgment, the defense shall, by WEDNESDAY, JUNE 28, AT NOON, state under oath the full
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                                       extent to which the County of Alameda will make good on the judgments against Deputy
                                  20
                                       Holland and against Deputy Pope in the event those judgments are affirmed on appeal.
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                                            IT IS SO ORDERED.
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                                       Dated: June 14, 2023.
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                                  27                                                        WILLIAM ALSUP
                                                                                            UNITED STATES DISTRICT JUDGE
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